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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
TIMOTHY C. HOLSWORTH, individually and on
behalf of all others similarly situated,

                                   Plaintiff,
                  -against-                                          20   CIVIL 2810 (AKH)

                                                                          JUDGMENT
BPROTOCOL FOUNDATION, et al.,

                                   Defendants.
-----------------------------------------------------------X

        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated February 22, 2021, Defendants' motion is granted. The oral

argument, currently scheduled for March 4, 2021, is cancelled; judgment is entered in favor of

defendants, and the complaint is dismissed. Plaintiffs' offer to re-plead is denied; accordingly, this

case is closed.

Dated: New York, New York

          February 23, 2021


                                                                     RUBY J. KRAJICK

                                                                          Clerk of Court
                                                               BY:
                                                                           mna~
                                                                           DeputyClerk
